                                       STATE OF NEW YORK
                                OFFICE OF THE ATTORNEY GENERAL
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                                               January 17, 2023

    By ECF                                  Application GRANTED. The stay is extended until April 10, 2023. By
                                            April 17, 2023, the parties shall file a joint status letter.
    The Honorable Lorna G. Schofield
    United States District Judge            Dated: January 18, 2023
    United States District Court                   New York, New York
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

           Re:     Sisters of Life v. James V. McDonald, Acting Commissioner of the
                   New York State Department of Health, in his Official Capacity
                   USDC SDNY Civil Action No. 1:22-cv-07529 (LGS)

    Dear Judge Schofield:

             This office represents the defendant, James V. McDonald, M.D., M.P.H., Acting
    Commissioner of the New York State Department of Health (hereinafter defendant or “DOH”) in
    this action. Pursuant to the Court’s order, dated October 12, 2022 (the “Order”), I write on behalf
    of both parties to update the Court on the status of this matter and to request an extension of the
    litigation stay that the Court entered through its Order.

            In its Order, the Court granted the joint request of the parties to stay this litigation for 90
    days, on the terms set forth more fully in the Court’s Order and in the parties’ joint request. In the
    interim period, Dr. Mary Bassett resigned as Commissioner of DOH. On January 1, 2023, Dr.
    James McDonald was appointed Acting Commissioner of DOH (pursuant to Rule 25(d) of the
    Federal Rules of Civil Procedure, Dr. McDonald is automatically substituted as the Defendant for
    the claims originally brought as against Dr. Bassett).

            The parties have continued to communicate constructively with one another and now
    jointly request that the Court grant a 90-day extension of the Stay Period, leaving in place all other
    terms set forth in the Order. DOH has advised that while it continues to make progress on the
    implementation of the statute, it has not yet fully determined the scope or timing of any information
    requests it is permitted to make under the statute. The parties have agreed that an extension of the

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Stay Period on the same terms set forth in the Order is the most efficient course for the parties and
for the Court at this time.

        For all of these reasons, the parties now jointly and respectfully request that the Court grant
a 90-day extension of the Stay Period, leaving in place all other terms set forth in the Order. Both
parties have reviewed and consented to the foregoing terms.

        The parties thank the Court for its assistance in this matter.

                                                       Respectfully submitted,

                                                               /s/

                                                       James Mirro
                                                       Assistant Attorney General

cc: All Counsel (by ECF)




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